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                        United States District Court
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DMSION

JAMES DONDERO, HIGHLAND                      §
CAPITAL MANAGEMENT FUND                      §
ADVISORS LP, THE DUGABOY                     §
INVESTMENT TRUST, and NEXPOINT               §
REALESTATEPARTNERSLLC                        §
                                             §          CIVIL ACTION NO. 3:23-CV-0726-S
v.                                           §
                                             §
 STACEY G. JERNIGAN and                      §
 HIGHLAND CAPITAL                            §
 MANAGEMENT LP                               §

                                          ORDER

       This Order addresses the Stipulation to Supplement Record [ECF No. 6], which the Court

construes as a joint motion to supplement the record ("Joint Motion"), referencing specific

documents therein collectively as "Materials." The Court GRANTS the Joint Motion.

Accordingly, Petitioners and Respondent Highland Capital Management LP may file the

referenced Materials by December 29, 2023. The Court ORDERS Respondent Highland Capital

Management LP to respond to the Petition for Writ of Mandamus [ECF No. 1] no later than

January 8, 2024.

       SO ORDERED.

       SIGNED December 15, 2023.

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                                                      N GREN SCHOLER
                                                 UNITED STATES DISTRICT JUDGE
